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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 JOHN P. BOYD,                                   §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §   Civil Action No. 4:21-cv-00732-O
                                                 §
 MAHROUQ ENTERPRISES                             §
 INTERNATIONAL (MEI) INC.,                       §
                                                 §
      Defendant.                                 §


                                             ORDER

         The parties to this case continue to refuse to mediate. Ten months ago, the Court set the

mediation deadline as May 4, 2022. ECF No. 17. The day of the deadline, the parties sought an

extension of the mediation deadline. On May 5, the Court granted the motion, allowing the parties

several additional weeks to complete mediation and setting a new deadline of June 22. ECF No.

24. Once again, on June 22, the parties filed a second Joint Motion to Extend Mediation Deadline,

seeking almost six more weeks to conduct mediation, explaining that “[d]ue to a series of

regrettable miscommunications between the Parties’ counsel, depositions were not completed.”

ECF No. 25. The Court found there was no good cause for such delay.

         Yet another four weeks have passed since the Court denied the second mediation extension,

and the parties still have not notified the Court that they have completed mediation. Because of

these substantial delays and noncompliance, the Court determines this case should be

REFERRED to Retired United States Magistrate Judge Paul Stickney for mediation to be

conducted no later than August 24, 2022. Magistrate Judge Stickney is requested to report the

results of the mediation to the Court within one week after the conference is held. The parties are
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directed to contact Magistrate Judge Stickney to schedule this mediation no later than July 25,

2022. The failure to do so will result in a show cause hearing to determine whether a party or

parties should be sanctioned. Magistrate Judge Stickney’s contact information is:

        Stickney Mediations PLLC
        12720 Hillcrest Road, Suite 1045
        Dallas, TX 75230
        682-313-9656
        Email: judgestick@gmail.com

        The case remains on the four-week docket beginning October 31, 2022, and will be tried if

not settled.

        SO ORDERED on this 20th day of July, 2022.



                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
